AO 245C               CaseAmended
                (Rev. 09/11) 2:13-cr-00120-APG-GWF
                                  Judgment in a Criminal Case           Document 210             Filed 10/20/14(NOTE:Page
                                                                                                                      Identify1Changes
                                                                                                                                of 9 with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                         V.
                   URVAN ANDERSON                                                  Case Number:                  2:13-cr-120-APG-GWF-4
                                                                                   USM Number:                   75570-051
Date of Original Judgment: 9/18/2014                                               CHRISTOPHER ORAM
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) Two of the Superseding Information
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                               Offense Ended                  Count

18 USC §§ 1028A(a)(1)              Aggravated Identity Theft; Aiding and Abetting                                   3/12/2009                      Two
   and (c)(4); 2


       The defendant is sentenced as provided in pages 2                       6              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)         All Remaining Counts          G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   September 18, 2014
                                                                                   Date of Imposition of Judgment


                                                                                   Signature of Judge
                                                                                   ANDREW P. GORDON, UNITED STATES DISTRICT JUDGE
                                                                                   Name and Title of Judge
                                                                                   October 20, 2014
                                                                                   Date
AO 245C        Case
             (Rev.    2:13-cr-00120-APG-GWF
                   09/11)                                Document 210
                          Amended Judgment in a Criminal Case                          Filed 10/20/14         Page 2 of 9
             Sheet 2 — Imprisonment                                                                  (NOTE: Identify Changes with Asterisks
                                                                                                  Judgment — Page          2   of     6
DEFENDANT:                 URVAN ANDERSON
CASE NUMBER:               2:13-cr-120-APG-GWF-4

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :   24 Months (consecutive to any other prison sentence that may be imposed, if any)




X      The court makes the following recommendations to the Bureau of Prisons:
       In order for the Defendant be located close to family, the Court recommends he be able to serve his term of incarceration
       in a facility located as close as possible to San Francisco, California.



X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.       on                                      .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                          to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C          Case
               (Rev.    2:13-cr-00120-APG-GWF
                     09/11)                                Document 210
                            Amended Judgment in a Criminal Case                          Filed 10/20/14           Page 3 of 9
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page           3    of         6
DEFENDANT:                 URVAN ANDERSON
CASE NUMBER:               2:13-cr-120-APG-GWF-4
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :        1 YEAR




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
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                 09/11) Amended Judgment in a Criminal Case   Document 210     Filed 10/20/14        Page 4 of 9
           Sheet 3C — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment—Page        4      of         6
DEFENDANT:               URVAN ANDERSON
CASE NUMBER:             2:13-cr-120-APG-GWF-4

                                      SPECIAL CONDITIONS OF SUPERVISION

1) You shall not possess, have under your control, or have access to any firearm, explosive device, or other
dangerous weapons, as defined by federal, state, or local law.
2) To ensure compliance with all conditions of release, you shall submit to the search of your person, and any
property, residence, business or automobile under your control by the probation officer, or any other authorized
person under the immediate and personal supervision of the probation officer without a search warrant at a
reasonable time and in a reasonable manner. Provided, however, you shall be required to submit to any search only
if the probation officer has reasonable suspicion to believe you have violated a condition or conditions of release.
You shall also inform any other residents that the premises may be subject to a search pursuant to this condition.
3) You shall participate in and successfully complete a substance abuse treatment and/or cognitive based life skills
program, which will include drug/alcohol testing and/or outpatient counseling, as approved and directed by the
probation office. You shall refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants
while participating in substance abuse treatment. Further, you shall be required to contribute to the costs of services
for such treatment, as approved and directed by the probation office based upon your ability to pay.
4) You shall be prohibited from incurring new credit charges, opening additional lines of credit, or negotiating or
consummating any financial contracts without the approval of the probation officer.
5) You shall provide the probation officer access to any requested financial information, including personal income
tax returns, authorization for release of credit information, and any other business financial information in which
you have a control or interest.
6) You shall provide the probation officer with accurate information regarding your entire computer system,
including all related digital devices with memory and all passwords and internet service providers; you shall allow
the installation of any software/hardware on your computer by the probation officer, and you shall abide by all rules
of the Computer Restriction and Monitoring Programs Agreement.
7) You shall not have contact, directly or indirectly, associate with, nor be within 500 feet of any co-defendant in this case or
any defendant in related cases 2:12-cr-04-APG-GWF, 2:12-cr-83-APG-GWF and 2:12-cr-84-APG-GWF, their residence or
business, and if confronted by any co-defendant or any defendant in the related cases in a public place, you shall immediately
remove yourself from the area.

Note: A written copy of the conditions of release was provided to the Defendant by the Probation Officer in open
Court at the time of sentencing.



ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)           _________________________                               ______________________
                   Defendant                                               Date

                 ___________________________                               _______________________
                 U.S. Probation/Designated Witness                         Date
AO 245C    (Rev.Case     2:13-cr-00120-APG-GWF
                 09/11) Amended Judgment in a Criminal Case      Document 210             Filed 10/20/14          Page 5 of 9
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page       5                       of 6
DEFENDANT:                      URVAN ANDERSON
CASE NUMBER:                    2:13-cr-120-APG-GWF-4
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                          Restitution
TOTALS           $ 100.00                                        $    WAIVED                     $ 496,567.38*
                                                                            *due jointly and severally with co-defendants--see page 6

G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss*                          Restitution Ordered                   Priority or Percentage

(See Attached Payee List)                                                          $496,567.38




TOTALS                            $                                        $          496,567.38


G    Restitution amount ordered pursuant to plea agreement $

X    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for       G fine           G restitution.
     G the interest requirement for the      G fine           G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO             Case
            (Rev. 09/11)2:13-cr-00120-APG-GWF             Document 210
                         Amended Judgment in a Criminal Case                              Filed 10/20/14           Page 6 of 9
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page         6      of         6
DEFENDANT:                 URVAN ANDERSON
CASE NUMBER:               2:13-cr-120-APG-GWF-4

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            496, 667.38         due immediately, balance due

          G not later than                                       , or
          X in accordance with G C,             G     D,   G     E, or    X F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          Defendant shall pay restitution in the amount of $496, 567.38* jointly and severally with all co-defendants in this case
          with interest to begin accruing after the 15th day from entry of judgment. It is recommended that any unpaid balance
          shall be paid at a rate of not less than $25.00 per quarter during incarceration, and then 10% of any gross income
          earned, subject to adjustment by the Court based upon ability to pay.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.
     Defendant shall pay restitution in the total amount of $496,567.38, due jointly and severally with all co-defendants
     in this case (2:13-cr-120-APG-GWF).



G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
   Case 2:13-cr-00120-APG-GWF      Document 210     Filed 10/20/14   Page 7 of 9




                             U.S. v. URVAN ADNERSON
                              2:13-cr-00120-APG-GWF
                                   Restitution List




American Express                      $117,391.85
World Financial Center
200 Vesey Street
New York, NY 10285


Discover Financial Service            $117,391.84
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137


MasterCard                            $117,391.84
2000 Purchase Street
Purchase, NY 10577


Visa Inc.                             $117,391.85
900 Metro Center Blvd
Foster City, CA 94404

TOTAL:                                $496,567.38



Joint & Several with defendants in case no. 2:13-cr-00120-APG-GWF only (Michael San
Clemente, Daisy Martinez, Irina Sanford, Feliks Balon)
                                        Case 2:13-cr-00120-APG-GWF                               Document 210               Filed 10/20/14           Page 8 of 9



                              United States v Roman Zolotarev, et al.
                                     2:12-cr-00004-APG-GWF
                              QASIR                DAVID                MICHAEL          CAMERON             SERGEI         FREDERICK         MAKYL           ALEXANDER
                             MUKHTAR              CAMEZ                 LOFTON           HARRISON         LITVINENKO         THOMAS          HARRERTY         KOSTYUKOV

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285             $3,299,210.90        $3,299,210.90        $3,299,210.90    $3,299,210.90     $3,299,210.90    $3,299,210.90    $3,299,210.90     $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137            $2,202,429.00        $2,202,429.00       $1,903,143.50     $2,202,429.00     $2,202,429.00   $1,903,143.50    $1,903,143.50      $2,202,429.00
MasterCard
2000 Purchase Street
Purchase, NY 10577            $15,496,221.00       $15,496,221.00       $15,477,464.00   $15,496,221.00    $15,496,221.00   $15,477,464.00   $15,477,464.00    $15,496,221.00
Visa Inc.
900 Metro Center Blvd
Foster City, CA 94404         $29,895,305.45       $29,895,305.45       $29,895,305.05   $29,895,305.45    $29,895,305.45   $29,895,305.05   $29,895,305.05    $29,895,305.45

Total                         $50,893,166.35       $50,893,166.35       $50,575,123.45   $50,893,166.35    $50,893,166.35   $50,575,123.45   $50,575,123.45    $50,893,166.35




                                 United States v Omar Butt, et al.
                                     2:12-cr-00083-APG-GWF
                              JASON                BILLY                 OMAR
                             MACLASKEY            STEFFEY                BUTT

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285             $3,299,210.90        $3,299,210.90        $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137            $1,903,143.50        $2,202,429.00        $1,903,143.50
OSU Federal Credit Union
PO Box 306
Corvallis, OR 97339-0306                              $155,896.69
MasterCard
2000 Purchase Street
Purchase, NY 10577            $15,477,464.00       $15,496,221.00       $15,477,464.00
Visa Inc.
900 Metro Center Blvd
Foster City, CA 94404         $29,895,305.05       $29,895,305.45       $29,895,305.05

Total                         $50,575,123.45       $51,049,063.04       $50,575,123.45
                                         Case 2:13-cr-00120-APG-GWF                            Document 210   Filed 10/20/14   Page 9 of 9




                                  United States v Thomas Lamb, et al.
                                       2:12-cr-00084-APG-GWF
                               JONATHAN              ROGER
                               VERGNETTI            GRODESKY

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285               $3,299,210.90       $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137              $1,903,143.50       $1,903,143.50
MasterCard
2000 Purchase Street
Purchase, NY 10577             $15,477,464.00       $15,477,464.00
Visa Inc.
900 Metro Center Blvd
Foster City, CA 94404          $29,895,305.05       $29,895,305.05

Total                          $50,575,123.45       $50,575,123.45




                              United States v Michael San Clemente, et al.
                                        2:13-cr-00120-APG-GWF
                               MICHAEL                DAISY                URVAN
                             SAN CLEMENTE           MARTINEZ             ANDERSON

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285               $3,299,210.90       $3,299,210.90        $117,391.85
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137              $1,901,721.40       $1,901,721.40        $117,391.84
MasterCard
2000 Purchase Street
Purchase, NY 10577             $15,478,174.85       $15,478,174.85        $117,391.84
Visa Inc.
900 Metro Center Blvd
Foster City, CA 94404          $29,896,016.30       $29,896,016.30        $117,391.85

Total                          $50,575,123.45       $50,575,123.45        $469,567.38


URVAN ANDERSON AMOUNT JOINT & SEVERAL WITH DEFENDANTS IN CASE NO. 2:13-CR-00120-APG-GWF ONLY
